·'             Case 4:14-cv-00065-JM Document 11 Filed 07/17/14 Page 1 of 3




                                                                                          ,...
                                                                                                  FILED
                                                                                                 U.S. DISTRICT COURT
                                                                                          ~STERN DISTRICT ARK.t\NSAS

                                                                                                 JUL 1 7 2014
                                                                                   .~~:MES W. M~K, CLERK
                             IN THE UNITED STATES DISTRICT COURT                                                DEP CLERK
                                 EASTERN DISTRICT OF ARKANSAS
                                \\'ESTERN (LITTLE ROCK) DIVISION



     MARK MOORE, MICHAEL HARROD,                                                      PLAINITFFS
     and WILLIAM CHRIS JOHNSON



     vs.                                     Case NO. 4:14-CV-65-JM



     HONORABLE MARK MARTIN,
     in his official capacity as
     Arkansas Secretary of State                                                      DEFENDANT


             DEFENDANT ARKANSAS SECRETARY OF STATE MARK MARTIN'S
                   SUPPLEMENTAL CITATIONS TO AUTHORITY IN
                         SUPPORT OF MOTION TO DISMISS

            Comes now Defendant, Arkansas Secretary of State Mark Martin, for his Supplemental

     Citations to Authority in Support of his Motion to Dismiss, and states that:


                1. The U.S. Supreme Court has issued a new opinion concerning Article III standing

                    requirements, since the filing of Defendant's Briefs in this matter.

                2. Susan B. Anthony List v. Driehaus, U.S. Supreme Court Case No. 13-193 (June

                    16, 2014) sets forth the Court's Article III standing requirements, and specifically

                    sets forth the "injury in fact" requirements of Article III. /d., slip op. at 7-8.




              Supplemental Citations to Authority in Support of Defendant's Motion to Dismiss, page 1
   Case 4:14-cv-00065-JM Document 11 Filed 07/17/14 Page 2 of 3




   3. Last year, the U.S. Supreme Court also issued an important case on Article III

       standing, Clapper, Director v. Amnesty International, USA, 133 S. Ct. 1138

       (2013), accord with, Constitution Party of South Dakota v. Nelson, 639 F.3d 417

       (8th Cir. 2011).

   4. Defendant brings these to the Court's attention in order to provide the Court with

       the most current case law, and also to preserve Defendant's right to use these case

       citations as authority should subsequent procedural developments require their

       use.


Dated this 17th day of July, 2014.



                                                Respectfully submitted,

                                                HONORABLE MARK MARTIN
                                                SECRETARY OF STATE
                                                In his Official C~Pfci,t;, Defendant


                                                By:
                                                A.J. Kelly
                                                                  l~~
                                                                    \
                                                                   \l
                                                Deputy Secretary of State
                                                PO Box 251570
                                                Little Rock AR 72225-1570
                                                (501) 682-3401
                                                Fax: (501) 682-1213
                                                Email: kellylawfedecf@ aol.com

                                                Attorney for Defendant
                                                Secretary of State




 Supplemental Citations to Authority in Support of Defendant's Motion to Dismiss, page 2
           Case 4:14-cv-00065-JM Document 11 Filed 07/17/14 Page 3 of 3




                                  CERTIFICATE OF SERVICE



I do hereby certify that on the date set forth above, I have served the foregoing via the electronic
filing system in tlJ.e Federal District Court Clerk's Office (CM/ECF), and by fax to the following:


James C. Linger
1710 South Boston A venue
Tulsa OK 74119-4810
Fax: 918-583-8283

Jeff Rosenzweig
300 Spring St, Suite 310
Little Rock AR 72201
Fax: 501-376-0770

                                                        A.J. Kelly




         Supplemental Citations to Authority in Support of Defendant's Motion to Dismiss, page 3
